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     M.B., Petitioner  v.  The People of the State of Colorado, Respondent  In the Interest of Minor Child: A.S.N.,  and Concerning K.M.P. No. 24SC740Supreme Court of Colorado, En BancJanuary 13, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA360
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    